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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 0:24-cv-60382-LEIBOWITZ/AUGUSTIN-BIRCH


  JESSICA PIAFSKY,

         Plaintiff,
  v.

  MB HOME IMPROVEMENTS,
  INC., et al. ,

        Defendant.
  _____________________________/

                                                ORDER

         THIS CAUSE is before the Court on Plaintiff’s Agreed Motion to Extend the Time to

  Mediate the Action, Vacate the Court’s August 21, 2024 Order, and Appoint a Mediator or in the

  Alternative Excuse the Parties from Mediation (the “Motion”) [ECF No. 43], filed on November 6,

  2024. Plaintiff requests that the Court either appoint or allow the Clerk of Court to appoint a new

  neutral mediator whose rate is governed by the standing order of the Court. [ECF No. 43 ¶ 10].

  Defendant agrees with the relief sought in the Motion. Upon due consideration, it is hereby

         ORDERED AND ADJUDGED that the Motion [ECF No. 43] is GRANTED IN

  PART and DENIED PART. The parties’ deadline to complete mediation remains July 31, 2025.

  The Court’s August 21, 2024 Order Scheduling Mediation [ECF No. 42] is VACATED. The

  Clerk of Court is DIRECTED to randomly assign a mediator to this case pursuant to S.D. Fla.

  L.R. 16.2(b)(7), S.D. Fla. L.R. 16.2(d)(1)(B), and Administrative Order 2018-34 (May 21, 2018).

  Once the parties schedule mediation, the parties shall advise the Court of their time, date, and place

  for mediation and jointly file a proposed order scheduling mediation in the form specified on the

  Court’s website, http://www.flsd.uscourts.gov no later than December 12, 2024.
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        DONE AND ORDERED in the Southern District of Florida on November 7, 2024.




  cc:   counsel of record
